  [NOT FOR PUBLICATION--NOT TO BE CITED AS PRECEDENT]
             United States Court of Appeals
                 For the First Circuit

No. 98-2206

                      UNITED STATES,

                        Appellee,

                            v.

                      JOSEPH AMORE,

                  Defendant, Appellant.

       APPEAL FROM THE UNITED STATES DISTRICT COURT

             FOR THE DISTRICT OF RHODE ISLAND

      [Hon. Ronald R. Lagueux, U.S. District Judge]

                          Before

                  Lynch, Circuit Judge,
             Bownes, Senior Circuit Judge,
               and Lipez, Circuit Judge.

 Robert B. Mann and Mann &amp;amp; Mitchell on brief for appellant.
 Margaret E. Curran, United States Attorney, and Kenneth P.
Madden, Assistant United States Attorney, on brief for appellee.

April 7, 1999

                                                Per Curiam.  Upon careful review of the briefs and
record, we cannot say that a connection between defendant's
possession of guns and his drug trafficking was clearly
improbable.  The district court was not required to credit
defendant's assertions to the contrary, including his assertion
that shotguns kept loaded in his house were for hunting only. 
See United States v. McDonald, 121 F.3d 7, 10 (1st Cir. 1997). 
Accordingly, the district court did not clearly err in
enhancing defendant's sentence under U.S.S.G.  2D1.1(b)(1).
          Affirmed.  See 1st Cir. Loc. R 27.1.
